
39 So.3d 452 (2010)
Gwendolyn LATSON, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-1131.
District Court of Appeal of Florida, Fifth District.
July 2, 2010.
Gwendolyn Latson, Ft. Lauderdale, Pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal form the judgment and sentence in case number 2009-CF-00676-A, in the Circuit Court in and for Marion County, Florida. See, Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, ORFINGER and JACOBUS, JJ., concur.
